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 3
     UNITED STATES DEPARTMENT OF JUSTICE
 4   Office of the United States Trustee
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 8   Attorneys for United States Trustee
     Tracy Hope Davis
 9
                             UNITED STATES BANKRUPTCY COURT
10

11                                     DISTRICT OF NEVADA

12   In re:                             )             Case No. 22-50556-hlb
                                        )
13   DEBRA YOUREN,                      )
                                        )
14                                      )
15                        Debtor(s),    )
                                        )
16   UNITED STATES TRUSTEE              )             Adversary Case No. 23-05021-hlb
     TRACY HOPE DAVIS,                  )
17                                      )
                          Plaintiff,    )
18
          vs.                           )
19                                      )
     DEBRA YOUREN,                      )
20                                      )
                                        )
21                        Defendant(s). )
                                        )
22

23              WRITTEN WAIVER OF DEBTOR-DEFENDANT’S DISCHARGE
                  UNDER 11 U.S.C. § 727(a)(10) AND NOTICE OF DISMISSAL
24                 OF COMPLAINT OBJECTING TO DISCHARGE UNDER
                   FEDERAL RULE OF BANKRUPTCY PROCEDURE 7041,
25              INCORPORATING FEDERAL RULE OF CIVIL PROCEDURE 41
                            [11 U.S.C. §§ 727(a)(2), (3), (4) & (5)]
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 1            Plaintiff, Tracy Hope Davis, the United States Trustee for Region 17 (“Plaintiff” and
 2   “United States Trustee”), by and through her undersigned counsel, and Debtor-Defendant
 3
     Debra Youren (“Debtor-Defendant”), by and through her undersigned counsel (collectively, the
 4
     “Parties”), hereby file this Written Waiver of Debtor-Defendant’s Discharge Under 11 U.S.C. §
 5
     727(a)(10) and Notice of Dismissal of Complaint Objecting to Discharge Under Fed. R. Bankr.
 6

 7   P. 7041, incorporating Fed. R. Civ. P. 41 (“Notice of Dismissal”).

 8            1.       Debtor-Defendant filed the above-captioned voluntary chapter 7 petition on

 9   October 19, 2022. See Lead Case No. 22-50556, ECF No. 1. Debtor-Defendant subsequently
10   filed an amended chapter 7 petition on December 15, 2022. Id. at ECF No. 18.
11
              2.       The 11 U.S.C. § 341(a) meeting of creditors was conducted and concluded on
12
     December 1, 2022. Id. at ECF Docket generally.
13
              3.       The extended deadline for the United States Trustee to file an adversary
14

15   complaint objecting to Debtor-Defendant’s discharge expired on October 31, 2023. Id. at ECF

16   Nos. 24 and 33.

17            4.       On October 30, 2023, Plaintiff timely commenced the above-captioned
18
     adversary proceeding by filing a complaint objecting to Debtor-Defendant’s discharge under 11
19
     U.S.C. §§ 727(a)(2), (3), (4) & (5) (the “Adversary Complaint”). See Adversary Case, ECF
20
     No. 1.
21
              5.       Debtor-Defendant does not wish to defend the Adversary Complaint filed by the
22

23   United States Trustee and hereby files this written waiver of chapter 7 discharge under 11

24   U.S.C. § 727(a)(10).
25

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 1          6.         Debtor-Defendant understands that this written waiver of discharge applies to all
 2   debts associated with the above-captioned chapter 7 case as explained to Debtor-Defendant by
 3
     her undersigned counsel.
 4
            7.         The Parties have uploaded a proposed order approving Debtor-Defendant’s
 5
     written waiver of discharge herewith.
 6

 7          8.         This Notice of Dismissal is based upon the provisions of Fed. R. Bankr. P. 7041,

 8   incorporating Fed. R. Civ. P. 41.

 9          9.         Under Fed. R. Bankr. P. 7041, incorporating Fed. R. Civ. P. 41(a), a plaintiff
10   may dismiss an action without a court order by filing a notice of dismissal before the opposing
11
     party serves either an answer or motion for summary judgment. See Fed. R. Civ. P.
12
     41(a)(1)(A)(i).
13
            10.        To date, Debtor-Defendant has not filed a timely answer or other response to
14

15   Plaintiff’s complaint. See ECF Docket generally.

16          11.        A notice of dismissal is without prejudice unless the notice specifies otherwise.

17   See Fed. R. Civ. P. 7041(a)(1)(B).
18
            12.        Fed. R. Bankr. P. 7041 provides that a complaint objecting to a debtor’s
19
     discharge shall not be dismissed at a plaintiff’s instance without notice to the trustee, the United
20
     States Trustee (i.e., Plaintiff in the above-captioned action), and such other persons as the court
21
     may direct, and only on an order of the court containing terms and conditions deemed proper
22

23   by the court.

24          13.        As reflected on the Certificate of Service filed herewith, Plaintiff has served a
25   copy of this Notice of Dismissal upon the duly appointed chapter 7 trustee, Christina W.
26
     Lovato. Plaintiff does not believe that additional service of this Notice of Dismissal is required
27

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 1   under Fed. R. Bankr. P. 7041, because Debtor-Defendant is waiving her discharge under 11
 2   U.S.C. § 727(a)(10). Therefore, the United States Trustee’s Adversary Complaint may be
 3
     dismissed upon an order of the Court containing terms and conditions deemed proper by the
 4
     Court. See Fed. R. Bankr. P. 7041 and Fed R. Civ. P. 41(a)(1)(A)(i).
 5
            14.      The Parties have uploaded a proposed order dismissing the United States
 6

 7   Trustee’s Adversary Complaint and vacating the February 14, 2024, scheduling conference

 8   herewith.

 9

10

11          Dated: January 17, 2024                             Dated: January 17, 2024

12          DEBRA YOUREN                                        UNITED STATES TRUSTEE
            DEBTOR-DEFENDANT                                    TRACY HOPE DAVIS
13
            /s/ Debra Youren                                    /s/ Jared A. Day
14          By: Debra Youren                                    By: Jared A. Day
15          Chapter 7 Debtor-Defendant                          Trial Attorney for the U.S. Trustee

16

17          Dated: January 17, 2024

18          DEBRA YOUREN
            DEBTOR-DEFENDANT
19

20          /s/ Debra M. Amens
            By: Debra M. Amens
21          Attorney for Chapter 7 Debtor-Defendant

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 1                                    CERTIFICATE OF SERVICE
 2          I, ANA BETANCOURT, under penalty of perjury declare: That declarant is, and was
 3
     when the herein described service took place, a citizen of the United States, over 18 years of
 4
     age, and not a party to nor interested in, the within action; that on January 17, 2024, I caused a
 5
     copy of the forgoing:
 6

 7   WRITTEN WAIVER OF DEBTOR-DEFENDANT’S DISCHARGE UNDER 11 U.S.C. §
     727(a)(10) AND NOTICE OF DISMISSAL OF COMPLAINT OBJECTING TO
 8   DISCHARGE UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 7041,
     INCORPORATING FEDERAL RULE OF CIVIL PROCEDURE 41 [11 U.S.C. §§
 9   727(a)(2), (3), (4) & (5)]
10   to be served on the following parties:
11
        a. Electronic Mail (list of persons & addresses):
12
           DEBRA M. AMENS dmamens@gmail.com, 8660@notices.nextchapterbk.com
13         SALLIE B ARMSTRONG sarmstrong@mcdonaldcarano.com,
            mhale@mcdonaldcarano.com
14         CHRISTINA W. LOVATO trusteelovato@att.net, NV26@ecfcbis.com
15         STEFANIE T. SHARP ssharp@rssblaw.com, llucero@rssblaw.com
           U.S. TRUSTEE - RN - 7 USTPRegion17.RE.ECF@usdoj.gov
16
            I declare under penalty of perjury that the foregoing is true and correct.
17
            DATED: January 17, 2024
18

19          /s/ Ana Betancourt
            Ana Betancourt
20

21

22

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